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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

IN RE:
GRANVILLE LEROY GREEN                                              BCN #: 18-36375-KLP
Debtor                                                             Chapter: 7
Address: 6289 Indian Trial Court
Mechanicsville, VA 23111
Last four digits of Social Security No.(s): XXX-XX-4570

                            NOTICE OF MOTION AND HEARING

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one.

        If you do not wish the Court to grant the relief sought in this motion, or if you want the
Court to consider your views on this motion, then within fourteen (14) days from the date of
service of this motion, you must file a written response explaining your position with the Court
at the following address: Clerk of Court, United States Bankruptcy Court, 701 East Broad Street,
Room 4000, Richmond, VA 23219-3515, and serve a copy on the Movant. Unless a written
response is filed and served within this fourteen day period, the Court may deem any opposition
waived, treat the motion as conceded, and issue an Order granting the requested relief without
further notice or hearing.

       If you mail your response to the Court for filing, you must mail it early enough so the
Court will receive it on or before the expiration of the fourteen day period.

      You may attend the preliminary hearing scheduled to be held on: February 20, 2019 at
9:00 AM in Courtroom 5100, United States Bankruptcy Court, 701 East Broad Street,
Richmond, VA 23219.

       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an Order granting the requested relief.




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SHAPIRO & BROWN, LLP                                        Dated: January 24, 2019
ATTORNEYS FOR THE MOVANT

/s/ Malcolm B. Savage, III
BY: Gregory N. Britto, Esquire VSB #23476
William M. Savage, Esquire VSB #26155
Malcolm B. Savage, III, Esquire VSB #91050
Thomas J. Gartner, Esquire VSB #79340
Mary F. Balthasar Lake, Esquire VSB #34899
Renee Dyson, Esquire VSB #93282
SHAPIRO & BROWN, LLP
501 Independence Parkway, Suite 203
Chesapeake, Virginia 23320
(703) 449-5800
VABECF@logs.com


                                  CERTIFICATE OF SERVICE


       I certify that I have this 24th day of January, 2019, electronically transmitted and/or
mailed by first class mail, postage pre-paid, a true copy of the foregoing Notice of Motion to the
following:

Genene E. Gardner
The Merna Law Group
3419 Virginia Beach Blvd., #236
Virginia Beach, VA 23452

ROY M. TERRY, JR.
P.O. BOX 2188
RICHMOND, VA 23218-2188

Granville LeRoy Green
6289 Indian Trial Court
Mechanicsville, VA 23111


/s/ Malcolm B. Savage, III
Gregory N. Britto, Esquire VSB #23476
William M. Savage, Esquire VSB #26155
Malcolm B. Savage, III, Esquire VSB #91050
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                                  United States Bankruptcy Court
                                   Eastern District of Virginia
                                       Richmond Division

In Re:                                              BCN#: 18-36375-KLP
Granville LeRoy Green                               Chapter: 7
        Debtor
Wells Fargo Bank, NA
or present noteholder,
        Movant/Secured Creditor,                    Motion for Order Granting Relief from
v.                                                  Automatic Stay under 11 USC §362
Granville LeRoy Green
        Debtor
and
ROY M. TERRY, JR.
        Trustee
        Respondents

       Wells Fargo Bank, NA, and/or present noteholder, (hereinafter “the Movant”), alleges as

follows:

       1.        That the bankruptcy court has jurisdiction over this contested matter pursuant to

28 U.S.C. § 157 and § 1334 and 11 U.S.C. § 362; Federal Rule of Bankruptcy Procedure 9014;

and Local Bankruptcy Rule 4001(a)-1.

       2.        That the above named Debtor filed a Chapter 7 Petition in Bankruptcy with this

Court on December 20, 2018.

       3.        That ROY M. TERRY, JR. has been appointed by this Court as the Chapter 7

Trustee in this instant Bankruptcy proceeding.

       4.        That the subject Deed of Trust secures a parcel of real property (hereinafter “the

Property”) with the address of 9123 Colonnade Circle, Ashland, VA 23005 and more particularly

described in the Deed of Trust dated October 19, 2012 and recorded as Deed Book 3041, Page

1241 among the land records of the said city/county, as:


       ALL that certain lot, piece, or parcel of land, lying and being in Hanover County,
       Virginia, containing 1.000 acres, more or less, and designated as Lot 2, Section 2,
       Hickory Hill, on subdivision plat made by Balzer & Associates, Inc., dated
       November 8, 2010, recorded November 24, 2010, in the Clerk's Office, Circuit
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       Court, Hanover County, Virginia, in Subdivision Plat Book 40, pages 160-175, to
       which plat reference is hereby made for a more particular description.
       STREET ADDRESS: 9123 Colonnade Circle, Ashland, Virginia 23005
       BEING the same real estate conveyed to Granville L. Green by deed from Royal
       Dominion Homes, Inc., a Virginia corporation, dated October 16, 2012 and
       recorded simultaneously herewith.

       5.        That the Movant is informed and believes, and, based upon such information and

belief, alleges that title to the Property is currently vested in the name of the Debtor.

       6.        The Debtor intends to surrender interest in the subject property according to the

Statement of Intention filed on December 20, 2018.

       7.        That the Debtor is in default with regard to payments which have become due

under the terms of the Note and Deed of Trust.

       As of January 15, 2019, the Debtor is due for:
       o         12 monthly payments from January 2015 through December 2015 of $1,879.33
                 each which were to be paid directly to Movant;
       o         20 monthly payments from January 2016 through August 2017 of $1,916.99 each
                 which were to be paid directly to Movant;
       o         7 monthly payments from September 2017 through March 2018 of $1,914.88
                 each which were to be paid directly to Movant;
       o         5 monthly payments from April 2018 through August 2018 of $1,935.33 each
                 which were to be paid directly to Movant;
       o         5 monthly payments from September 2018 through January 2019 of $1,939.52
                 each which were to be paid directly to Movant;


       8.        That the Movant has elected to initiate foreclosure proceedings on the Property

with respect to the Deed of Trust, but is prevented by the Automatic Stay from going forward

with these proceedings.

       9.        That continuation of the automatic stay pursuant to 11 U.S.C. § 362(a) will work

real and irreparable harm and deprive the Movant of the adequate protection to which it is

entitled under 11 U.S.C. § 362.


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       10.       That the Movant has requested that the Court hear this matter on February 20,

2019 at 9:00 AM.

       WHEREFORE, Movant prays for an order granting relief from the Automatic Stay in

order to pursue its remedies under the terms of its Note and Deed of Trust, that the fourteen (14)

day waiting period imposed by F.R.B.P. 4001(a)(3) be waived, for its attorneys fees’ and costs

expended, and for such other and further relief as the Court and equity deem appropriate.

SHAPIRO & BROWN, LLP                                        Dated: January 24, 2019
ATTORNEYS FOR THE MOVANT




/s/ Malcolm B. Savage, III
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                                    Certificate of Service



       I certify that I have this 24th day of January, 2019, electronically transmitted and/or
mailed by first class mail, true copies of the Motion for Relief from the Automatic Stay and
Notice of Motion and Hearing to each party required to receive notice.

Genene E. Gardner
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Virginia Beach, VA 23452

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